        8:05-cr-00131-LSC-TDT           Doc # 410     Filed: 12/11/08    Page 1 of 1 - Page ID # 2134


                                         UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEBRASKA
Denise M. Lucks                                 OFFICE OF THE CLERK                                 M. Therese Bollerup
Clerk of Court                                    www.ned.uscourts.gov                               Chief Deputy Clerk


        TO:              The Honorable Laurie Smith Camp

        FROM:            Clerk, U.S. District Court
                         Kamala B. Jewett

        DATE:            December 11, 2008

        SUBJECT:         8:05CR131 USA v Pablo Reza Landin

        A party, who has NOT been permitted to proceed in forma pauperis in District Court, has filed
        a Notice of Appeal. Please note the following:

                  (X)    An appeal fee of $455.00 was not received.

                  (X)    A motion to proceed in forma pauperis/affidavit on appeal was not received.

                  (X)    An inmate trust account statement was not received.
        In order for the Clerk’s office to process this appeal, please advise our office how you intend
        to proceed:
                   X     No order will be entered in this appeal, and the party is permitted to proceed on
                         appeal in forma pauperis.
                         An order will be entered finding that the party is not entitled to proceed
                         in forma pauperis.
                         An order will be entered, and the party is permitted to proceed on appeal
                         in forma pauperis.
                         An order will be entered in this § 2254 or § 2255 case regarding
                         Certificate of Appealability.
                  Dated this 11th day of December, 2008.

                                                             s/Laurie Smith Camp
                                                             United States District Judge

        The notice of appeal will not be transmitted to the Court of Appeals until this court
        determines the in forma pauperis status.

                           Additional Requirement for State Habeas or § 2255 Cases

        Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
        district judge who rendered the judgment shall either issue a certificate of appealability or
        state the reasons why such a certificate should not be issued.

        Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court
        rules on the party's in forma pauperis status and the certificate of appealability.
        Approved Date: 1/25/08                                                   Forms-Appeal-Memo_NOT_IFP
